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                                 #:3726




                          Exhibit 26
                               Case 2:20-cv-08035-SVW-JPR Document 160-31 Filed 05/18/21 Page 2 of 2 Page ID
                                                                #:3727

  RBCOP7449 |Liu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO   8,000,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           15-Feb-2018                       FALSE
  RBCOP7449 |Liu                             $0.36 US                          |1/48th Monthly for 4 Years                      15-Feb-2029
                            10/24/2018   -              -
                                                            ISO   4,000,000                                                                                          15-Feb-2019                        FALSE
  RBCOP7449 |Liu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO   4,000,000    |1/48th Monthly for 4 Years                      15-Feb-2030                          15-Feb-2020                        FALSE
  RBCOP7449 |Liu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO   4,000,000    |1/48th Monthly for 4 Years                      15-Feb-2031                          15-Feb-2021                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      90,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          21-May-2018                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -
                                             $0.36 US   -
                                                            ISO      30,000   |1/48th Monthly for 4 Years                       21-May-2029                          21-May-2019                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2030                          21-May-2020                        FALSE
  JBIARVDMR |Eisner         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2031                          21-May-2021                        FALSE
  NNGRPX9JE Johnson         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      90,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          21-May-2018                        FALSE
  NNGRPX9JE Johnson         10/24/2018   -
                                             $0.36 US   -
                                                            ISO      30,000   |1/48th Monthly for 4 Years                       21-May-2029                          21-May-2019                        FALSE
  NNGRPX9QVJE Johnson       10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2030                          21-May-2020                        FALSE
  NNGRPX9JE Johnson         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2031                          21-May-2021                        FALSE
  Y4VXO2127_ |Skibbe        10/24/2018   -

                                             $0.36 US   -

                                                            ISO      90,000   |25% @ 1 year, monthly thereafter for3 years      |24-Oct-2028                         21-May-2018                        FALSE
  Y4VX02127_|Skibbe         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      30,000   |1/48th Monthly for 4 Years                       21-May-2029                          21-May-2019                        FALSE
              |Skibbe       10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2030                          21-May-2020                        FALSE
  Y4VXO2127_|Skibbe         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000   |1/48th Monthly for 4 Years                       21-May-2031                          21-May-2021                        FALSE
  5HJOTJK8M Fritz           10/24/2018   -

                                             $0.36 US   -
                                                            ISO     100,000   {25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          29-Jan-2018                        FALSE
  XPNLVE414 |Hsu            10/24/2018   -

                                             $0.36 US   -
                                                            ISO      80,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          30-Apr-2018                        FALSE
  ZG2GI4RCO_|Chen
              |Guthi
                            10/24/2018
                            10/24/2018
                                         -

                                             $0.36 US   -
                                                            ISO      50,000   |25% @ 1 year, monthly thereafter for 3 years
                                                                              |25% @ 1 year, monthly thereafter for years
                                                                                                                                24-Oct-2028                          29-May-2018                        FALSE
                                         -

                                             $0.36 US   -
                                                            ISO      30,000                                                     {24-Oct-2028                         25-Jun-2018                        FALSE
  UDHJPYKHG Bullock         10/24/2018   -

                                             $0.36 US   -
                                                            ISO      25,000   |25% @ 1 year, monthly thereafter for years       {24-Oct-2028                         7-May-2018                         FALSE
  ZPBMOVFTI {Gilliam        10/24/2018   -

                                             $0.36 US   -
                                                            ISO      15,000          @ 1 year, monthly thereafter for 3 years   24-Oct-2028                           1-Jan-2018                        FALSE
                                                                              |25% @ 1 year, monthly thereafter for 3 years
  8800Y2R6W_|Hsieh          10/24/2018   -
                                             $0.36 US   -
                                                            ISO      30,000                                                     24-Oct-2028                           1-Jan-2018                        FALSE
  RZZMVKPMZ|Southammavong                -

                                             $0.36 US   -
                                                            ISO      35,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           1-Jan-2018                        FALSE
  6H203580M |Gonzales       10/24/2018       $0.36 US       ISO               |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028
                                         -              -

                                                                      5,000                                                                                          12-Mar-2018                        FALSE
            |Liu            10/24/2018   -
                                             $0.36 US   -
                                                            ISO       6,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                          19-Mar-2018                        FALSE
  W6W7HI7JO_}|Wong          10/24/2018   -
                                             $0.36 US   -
                                                            ISO       5,000   |25% @ 1 year, monthly thereafter for 3 years
                                                                                                                                24-Oct-2028                           1-Apr-2018                        FALSE
  NCDXF6V1D |Bobadilla
  2UEAMQSM6]Banuelos
                            10/24/2018   -

                                             $0.36 US   -
                                                            ISO      10,000   |25% @ 1 year, monthly thereafter for 3 years
                                                                              |25% @ 1 year, monthly thereafter for years
                                                                                                                                24-Oct-2028                           16-Apr-2018                       FALSE
                            10/24/2018   -

                                             $0.36 US   -
                                                            ISO      20,000                                                     _|24-Oct-2028                        20-Feb-2018                        FALSE
  JRMNRXOAQ |Kim            10/24/2018   -
                                             $0.36 US   -
                                                            ISO       5,000   {25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           1-Jan-2018                        FALSE
  KFFMXAQDR]|Lund           10/24/2018   -

                                             $0.36 US   -
                                                            ISO      20,000   |25% @ 1 year, monthly thereafter for 3 years     24-Oct-2028                           1-Jan-2018                        FALSE
  UO1FNIQDM {Chiu           10/24/2018   -
                                             $0.36 US   -
                                                            ISO       5,000          @ 1 year, monthly thereafter for 3 years   24-Oct-2028                           30-Jul-2018                       FALSE




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enero                                                                                  | ‘aw,                                                   Jannet Calix
                                                                                                                                                Director, Private Market   Operations
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